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                    IN THE UNITED STATES DISTRICT COURT

                       EASTERN DISTRCT OF MICHIGAN



TIMOTHY KING, MARIAN ELLEN
SHERIDAN, JOHN EARL
HAGGARD, CHARLES JAMES
RITCHARD, JAMES DAVID                    CASE NO. 20-cv-13134
HOOPER and DAREN WADE
RUBINGH,


      Plaintiffs.
v.


GRETCHEN WHITMER, in her
official capacity as Governor of the
State of Michigan,
JOCELYN BENSON, in her official
capacity as Michigan Secretary of
State and the Michigan BOARD OF
STATE CANVASSERS.


      Defendants.
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                   PLAINTIFFS’ MOTION TO FILE
             AFFIDAVITS UNDER SEAL AND FOR IN
                             CAMERA REVIEW

      Come now the Plaintiffs, and pursuant to Local Rules 5.3 and 65.1,

respectfully request leave of Court to file under seal certain affidavits and

declarations.

                                        1.

      This case brings a challenge to the November 3, 2020 Presidential

election. Plaintiffs’ evidence in the original November 25, 2020 complaint

filed in the above-captioned proceeding (“Complaint”), and the November 29,

2020 amended complaint filed concurrently (“Amended Complaint”) with this

motion, shows ballot fraud and illegality, i.e. fraud or illegality in the ballots

that were counted in the election, and counting fraud and illegality in the

Dominion Voting Systems machines and software.

                                        2.

      Three of Plaintiffs’ witnesses are in reasonable fear of harassment and

threats to their physical safety and their livelihoods in retaliation for their

coming forward with their testimony. As election controversies have unfolded

around the country, there have been many incidents of harassment and

threats to destroy the careers or physically harm witnesses who come forward

with evidence of election fraud and illegality. There was an organized

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campaign by The Lincoln Project to destroy the business relationships of

major law firms with their clients for having the temerity to represent the

President of the United States in these controversies. One Pennsylvania law

firm withdrew from representing the President only days after filing a

lawsuit on his behalf because of such harassment, abuse, threats, pressure

and economic coercion. Other lawyers for the President have been physically

threatened and verbally abused and forced to obtain personal security to

protect them. Therefore, the apprehensions of Plaintiffs’ witnesses are

serious and well-founded in multiple respects.

                                      3.

      Moreover, the testimony of these witnesses is consequential to the

matter before this court, namely a legal challenge to the outcome of the

Presidential election in Michigan. This increases the likelihood of the feared

harassments, threats and coercion should their identities become public

knowledge. One of the witnesses, who is testifying about his analysis of

hostile foreign power cyber penetration of Dominion Voting Systems servers

and networks, is already subject to serious threats of harm because of the

highly sensitive nature of his regular professional work and is in particular

need of protection.




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                                       4.

      These witnesses have shown great courage in coming forward at a

critical moment to deliver the truth to the Court about matters of great

importance to our country. They should be protected from the readily

foreseeable harms that would accrue to them if their identities were made

public. Thus, good cause exists for the relief requested.

                                       5.

      Due to the concerns described above, these witnesses’ affidavits and

declarations have been filed with the Complaint and the Amended Complaint

with their identifying information redacted.

                                       6.

      The privacy and personal and financial security interests of the

witnesses are at grave risk of harm if their identities were disclosed. These

interests vastly outweigh the interests of the public in having access to such

information, and no less drastic alternatives than sealing their unredacted

affidavits to conceal their identities will provide adequate protection to the

affiants. The common law right of public access must yield to the affiants’

interest in keeping their identities undisclosed beyond the parties and the

Court in these proceedings in order to protect them from readily foreseeable

threats. Moreover, the redacted affidavits conceal only their identifying

information – all of their other testimony is public and unredacted.
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                                        7.

        For the Court’s ease of reference, the affidavits and declarations as to

which this protection is sought are also attached to this motion in redacted

form.

                                        8.

        Wherefore, the Plaintiffs respectfully request leave of Court to submit

the unredacted affidavits to the Court under seal for in camera review, and

for leave of court that in the public filings their names not be revealed.



        Respectfully submitted, this 29th day of November, 2020.


                                       /s Sidney Powell*
                                       Sidney Powell PC
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*Application for admission pro hac vice
Forthcoming

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                       CERTIFICATE OF SERVICE
     This is to certify that I have on this day e-filed the foregoing Plaintiffs’

Motion To File Affidavits Under Seal and For In Camera Review with the

Clerk of Court using the CM/ECF system, and that I have delivered the filing

to the Defendants by email and FedEx at the following addresses:

     This 25th day of November, 2020.
     Governor Gretchen Whitmer
     P.O. Box 30013
     Lansing, Michigan 48909

     Secretary of State Jocelyn Benson
     Bureau of Elections
     Richard H. Austin Building, 1st Floor
     430 W. Allegan
     Lansing, Michigan 48918

     Board of State Canvassers
     Bureau of Elections
     Richard H. Austin Building, 1st Floor
     430 W. Allegan
     Lansing, Michigan 48918


[LOCAL COUNSEL FOR PLAINTIFFS SIGNATURE BLOCK]




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